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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 :
                                         :
                v.                       : CRIMINAL NO. 21cr0006 (TJK)
                                         :
DOUGLAS AUSTIN JENSEN,                   :
    Defendant.                           :


                     MOTION TO CONTINUE TRIAL DATE

       Douglas Jensen, by his undersigned counsel, hereby moves to continue his

 two-week trial set to begin on September 19, 2022. He states the following in

 support thereof.

February 2023

      1. Defendant Jensen moves to continue his case until the early part of 2023.

He points to the ongoing publicity from the nationally televised House Select

Committee Hearings and its anticipated final report (to be issued at the end of

2022). He submits that the prejudicial publicity to date, finding fault on the part

of anyone connected to the events of January 6, creates an atmosphere of intense

personal opinions and biases that will be difficult, if not impossible, to weed out

during the voir dire process. Furthermore, the mid-term elections will only further

polarize and inflame the populace; in particular, the politically sensitive citizens of

the District of Columbia. Finally, the report that will be issued by the Committee

summarizing their findings is expected at the end of the year and will again fan

the flames of individuals’ personal opinions and biases. All factors considered, Mr.
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Jensen moves to continue his trial until the end of February 2023.

       2. Defendant Jensen is prepared to waive time under the Speedy Trial

 Act until the end of February 2023, to obtain a less politically charged jury pool.

October 24, 2022

      3. Alternatively, the defense would request a continuance until the fourth

week of October. Undersigned begins a federal homicide trial in Greenbelt

Maryland on September 5, 2022. It is expected to last at least two weeks and does

not account for potential delays, a defense case, or jury deliberations.

United States v. Tejan, Crim. No. 21-101-GJH. To avoid a potential conflict,

undersigned requests a continuance to the fourth week of October 2022.

      4. Mr. Jensen agrees to waive time under the Speedy Trial Act to

accommodate this continuance.

Government’s Opposition

      5. The government opposes the request to continue the trial of this matter,

which has been pending since January 2021. However, if the continuance is

necessary to accommodate a conflict in defense counsel’s trial schedule, the

government asks that the trial be re-set to the earliest available date. Counsel for

the government is available to start trial on any date between September 19, 2022,

and October 24, 2022.

      6. The government intends to file a written opposition to this motion to

continue on the grounds of pretrial publicity.

                                  CONCLUSION

      For all the above noted reasons, and any that may be presented at a hearing
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on this matter, the defense moves for relief consistent with his request as detailed

above.

                                          Respectfully submitted,


                                                         /s/
                                          Christopher M. Davis #385582
                                          Counsel for Douglas Jensen

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                                          Washington, DC 20036
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                             CERTIFICATE OF SERVICE

         I hereby certify that a copy of this motion was served upon all counsel of

record via the Court’s CM/ECF System on this day of 25th July 2022.

                                          _________/s/____________________
                                          Christopher M. Davis
